         Case 1:13-cv-00094-SEH Document 4 Filed 07/26/13 Page 1 of 4



                      UNITED STATES DISTRICT COURT




                           DISTRICT OF MONTANA


July 26, 2013

Re:   Steinmetz v. U.S. Postal Service, et al., Cause No. CV 13-94-BLG-SEH-CSO

NOTICE OF CASE OPENING

      Attached you will find a copy of the Court=s docket sheet for your case.
Please put the cause number and the correct division on all documents you
submit to the Court regarding this case. For administrative reasons, the clerk and
the Judge presiding in your case will generally send mail to you from Missoula.
You should send mail to the division reflected on your case caption and in your
case number. Your case is venued in Billings. Please address all of your mail to
the Clerk of the U.S. District Court, 2601 2nd Ave. N, Ste. 1200, Billings, MT
59101

       Form of Submitted Documents: All documents you submit to the Court
should be in the form of a pleading, notice, motion, or brief. Letters to the
presiding judge are not authorized by the governing rules and should not be sent.
Any letters or documents addressed directly to the judge or other court staff other
than the Clerk of Court are not part of the record and will not be considered for
any purpose.

      Prescreening Requirement: Pursuant to 28 U.S.C. '' 1915(e)(2) and
1915A(a), and/or Rule 4 of the Rules Governing Section 2254 Cases, the presiding
judge prescreens all cases filed in forma pauperis and all cases filed by prisoners.
Each case receives the presiding judge=s individual attention. Many cases are
          Case 1:13-cv-00094-SEH Document 4 Filed 07/26/13 Page 2 of 4



before the Court and thus prescreening takes some time. As soon as an Order is
issued, a copy will be mailed to you. The Court will not consider appointing
counsel, serving your Complaint upon Defendant(s), or requiring an Answer from
Respondents until after the prescreening process is complete.

      Privacy Protection: The Federal Rules of Civil Procedure prohibit litigants
in non-habeas proceedings from submitting documents to the Court which contain
certain personal information. Therefore,

      $      social security numbers, taxpayer identification numbers, and
             financial account numbers must include only the last four digits (e.g.
             xxx-xx-5271, xx-xxx5271, xxxxxxxx3567);

      $      birth dates must include the year of birth only (e.g. xx/xx/2001); and

      $      names of persons under the age of 18 must include initials only (e.g. L.K.).

If your documents (including motions and exhibits) contain any of the above listed
information, you must black that information out before sending those documents to the
Court in a non-habeas action.

      You are responsible for protecting the privacy of this information in a non-habeas
case. Privacy protection rules do not apply to copies of records you have obtained from
courts or administrative agencies.

      We ask, but do not require, that habeas litigants follow these rules as well.

      Inquiries to Clerk of Court: No one at the Court is permitted to give you legal
advice. The Clerk of Court does not have the authority to take any action with respect to
your case unless a judge or rule authorizes the Clerk to do so.

      Change of Address: You must immediately inform the Clerk of Court of any
change in your address. Failure to do so may result in dismissal of your case without
notice to you.


                  NOTICE REGARDING ELECTRONIC FILING

     As of November 7, 2005, the United States District Court for the District of
Montana uses an electronic filing system. All documents that you send to the Court for
          Case 1:13-cv-00094-SEH Document 4 Filed 07/26/13 Page 3 of 4



filing will be scanned and filed in electronic form. (A scanner takes a picture of the
document and makes it into an electronic file so that the document can be viewed on a
computer screen, saved on a computer hard drive, or printed.) The electronic version of
your document is the Court=s official record of that document. The electronic version is
identical to the original paper document and no one can alter the document. After
scanning, the paper documents the Court receives from you will be discarded.

      To ensure that your documents are legible in electronic form:

      $      Use white, unlined paper only;

      $      Type your documents or hand write in ink, not pencil;

      $      Do not use highlighters of any kind;

      $      Do not staple or otherwise bind the pages of a document together, though
             you may paper-clip or clamp pages together if you are submitting more than
             one document for filing;

      $      Submit only one original document. Copies are no longer required for the
             federal court; and

      $      Do not submit ANY double-sided pages. PLEASE CHECK YOUR
             MATERIALS CAREFULLY and replace any double-sided pages with two
             single-sided copies. Please be aware that orders of the Montana Supreme
             Court are frequently printed on both sides of the page.

       If the Court is unable to make a legible electronic version of your document, you
will be given an opportunity to correct the problem.

       You will receive by mail from the Court a paper copy of any order that is issued in
the case. You will receive by mail from other parties a paper copy of any document that
party files with the Court.

       Some documents, including orders by judges, are created and filed directly in
electronic form and do not need to be scanned. While you will receive a paper copy of
any such documents, you should be aware that such documents may be signed with A/s/@
followed by the printed name of the signer. That form of signature is a legal and valid
signature that is fully recognized and accepted by the Court. Because your documents
will be scanned, you should always sign your documents in the conventional manner.
         Case 1:13-cv-00094-SEH Document 4 Filed 07/26/13 Page 4 of 4




                          NOTICE REGARDING COPY COSTS

       Pro se litigants proceeding in forma pauperis are not exempt from other fees and
costs associated with prosecuting their actions, including but not limited to copying and
witness fees. It is important to realize that even if you are proceeding with an action in
forma pauperis, neither the Court nor the Clerk=s office can make copies for you free of
charge. Copies of documents in your file cannot be provided to you by the Clerk=s
Office without a charge of $0.10 per page which must be pre-paid at the time that you
make your request. Therefore, you should always keep a copy, for your own records, of
all documents that you sent to the Court or to the Clerk=s Office.


                          NOTICE TO PRISONERS ONLY

      The filing date reflected on the Court=s docket may not be the legal filing date for
your pleading. Should any issue arise with respect to a statute of limitations, you will be
given an opportunity to respond on that issue. Do not write to the Clerk to correct the
date.
